      Case 5:17-cr-00003-LGW-BWC Document 250 Filed 01/08/18 Page 1 of 1




                    IN THE XINITED STATES DISTRICT COURT FOR
                       THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION


UNITED STATES OF AMERICA,


V.                                              Case No. CR517-3


SAMUEL SCOTT CADE, ET AL,


                       Defendant.




        Carlton R. Bourne, Jr., counsel of record for the United

States of America in the above-styled case has moved for leave of

absence.           The Court is mindful that personal and professional

obligations require the absence of counsel on occasion. The Court,

however, cannot accommodate its schedule to the thousands of

attorneys who practice within the Southern District of Georgia.

         Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and           trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



         SO ORDERED this            day of January 2018.



     y S.              court
     SoutJ^.93"^        ®              WILLIAM T. MOOrC JR,
          fUed                         UNITED STATES DISTRICT COURT
                         ~             SOUTHERN DISTRICT OF GEORGIA
